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RATTET, PLLC
202 Mamaroneck Avenue                                            HEARING DATE: TBD
White Plains, New York 10601
(914) 381-7400

Attorneys for (Involuntary) Debtor

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

--------------------------------------------------------------   x
                                                                 :
In re                                                            :   Chapter 7
                                                                 :
EMC Bronxville Metropolitan LLC,                                 :   Case No.: 18−22963−rdd
                                                                 :
                                                                 :
                                       Debtor.                   :

--------------------------------------------------------------   x

                   DEBTOR’S MOTION FOR AN ORDER, PURSUANT TO 11
                       U.S.C. § 706(a) AND RULE 1017(f) OF THE FEDERAL
                    RULES OF BANKRUPTCY PROCEDURE CONVERTING
                   THIS CHAPTER 7 CASE TO A CASE UNDER CHAPTER 11

TO:       HONORABLE ROBERT D. DRAIN,
         UNITED STATES BANKRUPTCY JUDGE

         EMC Bronxville Metropolitan LLC, the above-captioned debtor (the “Debtor”), by its

counsel, Rattet PLLC, as and for its motion the “Motion”), pursuant to section § 706(a) of title

11 of the United States Code (the “Bankruptcy Code”) and Rule 1017(f) of the Federal Rules of

Bankruptcy Procedure (the “Bankruptcy Rules”), for an order converting this chapter 7 case to a

case under chapter 11 of the Bankruptcy Code, respectfully represents as follows:
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                                         BACKGROUND
       1.        On or about June 22, 2018 (the “Petition Date”) Petitioning Creditors Thomas E

Haynes Architect, Werner E. Tietjen, PE, and Hall Heating & Cooling Service Inc., (collectively,

“Petitioning Creditors”) filed an Involuntary Petition for relief under Chapter 7 of the

Bankruptcy Code (the “Petition”) (ECF Docket No. 1) against the Debtor.

       2.        The time to respond to the Involuntary Petition, according to this Court’s

docket, is July 30, 2018.

       3.        No order of relief has been entered.

                                     RELIEF REQUESTED
       4.        By this Motion, the Debtor requests entry of an order, substantially in the form

annexed hereto as Exhibit “A”, converting this chapter 7 case to one under chapter 11 pursuant to

11 U.S.C. § 706(a).

       5.        Section 706(a) provides, in pertinent part, that a “debtor may convert a case

under this chapter to a case under chapter 11 … of this title at any time, if the case has not been

converted under section 1112, 1208 or 1307 of this title.” (11 U.S.C. § 706(a)).

       6.        This case was commenced as an involuntary chapter 7 case and no prior

conversions pursuant to sections 1112, 1208 or 1307 of the Bankruptcy Code have been sought

or ordered.

       7.        The legislative history of section 706(a) evidences that Congress intended that

the debtor be provided “…one absolute right of conversion of a liquidation case to

reorganization…” H.R. Rep. No. 95-595 at 380 (1977).

       8.        The Debtor is eligible to be a debtor under chapter 11 of the Bankruptcy Code

and desires conversion of this case to one under chapter 11.

       9.        The Debtor wishes to preserve its right to damages under 11 U.S.C. §303(i).


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        10.        The havoc and administrative expense created by the filing was unnecessary.

        11.        The filing, however, has caused significant disruption and reorganization is

now necessary.

        12.        Thus, the Debtor seeks relief under 11 U.S.C. §303(i) against Petitioning

Creditors and others.

                                            RELIEF SOUGHT

        13.        Section 706(a) of the Bankruptcy Code does not require notice and a hearing of

a debtor’s motion to convert its chapter 7 case to one under chapter 11 of the Bankruptcy Code.1

        14.        Rule 1017(f)(2) of the Bankruptcy Rules provides, inter alia, that conversion

under section 706(a) “shall be on motion filed and served as required by Rule 9013.” In contrast

to Rule 9014, Rule 9013 does not require a hearing. Thus, the Debtor meets the statutory criteria

under section 706(a) for conversion without notice.

        15.        The Debtor respectfully submits that notice of this Motion, other than that

provided by filing on the Court’s ECF system is required.




1
 Compare with 11 U.S.C. § 706(b) which expressly mandates notice and a hearing where the request to convert a
case to one under chapter 11 is made by a party in interest rather than a debtor.


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       WHEREFORE, the Debtor respectfully requests entry of an order, substantially in the

form annexed hereto as Exhibit “A”, converting the above-captioned chapter 7 case to a case

under chapter 11 and for such other and further relief as this Court deems just and proper.

Dated: July 15, 2018
       White Plains, New York

                                                     RATTET, PLLC
                                                     Attorneys for Involuntary Debtor
                                                     202 Mamaroneck Avenue
                                                     White Plains, New York 10601
                                                     Telephone: (914) 381-7400


                                                     BY: /s/ Robert L. Rattet_________
                                                     Robert L. Rattet

EMC Bronxville Metropolitan LLC

      /s/Edgar Costa
BY:____________________
      EDGAR COSTA




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               EXHIBIT “A” – PROPOSED ORDER
